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----- AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                           UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF CALIFORNIA 15                             '! - 7 Pi"1 I: I 4
                    UNITED STATES OF AMERICA                               JUDGMENT IN A CRlMINALCASE·"
                                      V.                                   (For Offenses Committed On orAfbrrNoveInbe'r 1; 1(87)
                       TERRY DAVID HAYES (4)
                                                                              Case Number:         14CR3179-BAS

                                                                           DANA GRIMES
                                                                           Defendant's Attorney
        REGISTRATION NO.                 42592298
        o
        IZl pleaded guilty to count(s)      ONE (1) OF THE INFORMATION

        o was found guilty on count(s)
            after a plea ofnot guilty.           . . . .. .          . ... .       .          .
        Accordingly, the defendant is adjudged guilty of such cOunt(s), wbieh involve the following offense(s):
                                                                                                                                Count
        Title & Section                    NatureofOtTense·                                                                  Number(s)
        8 USC 1324(a)(l)(A)(ii)            CONSPIRACY TO TRANSPORT ILLEGAL ALIENS FOR                                           1
        AND (v)(I)                         FINANCIAL GAIN




             The defendant is sentenced as provided in pages 2 through                4           of this judgment.
        The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        o The defendant has been found not guilty on count(s)
        o Count(s)                                                    is         . dismissed oil the motion of the United States.

        IZl   Assessment: $100.00



         IZl No fine                       Forfeiture pursuant to order filed                                          , included herein.
               IT IS ORDERED that the defendant shal1 notify the United States Attorney for this district within 30 days of any
        change of name, residence, or mai1ingaddress until a11 fines; restitution, costs, and specia1 assessments imposed by this
        judgment are fully paid. If ordered to pay restitution, the defendant shaH notify the court and United States Attorney of
        any materia1 change in the defendant's economic circUmstances.


                                                                            JANAURY 5. 2015
                                                                            Om. oflmpo&tion ofSenrenc?nA


                                                                             HON.~
                                                                           . UNITED STATES DISTRICT JUDGE



                                                                                                                             14CR3179-BAS
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DEFENDANT:                TERRY DAVID HAYES (4)                                                   Judgment - Page 2 of 4
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                                                 IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
TEN (10) MONTHS




o      Sentence imposed pW'Suant to Title 8 USC Section 1326(b).
o      The court makes the following recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United. States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o    at                             . A.M..            on
                 ----------~----
                                                                   ~--------------------------------
       o    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o    on or before
       o     as notified by the United States Marshal:
       o     as notified by the Probation or Pretrial· Services· Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant deli vered on                                             to
                                 --------------~---------                       ----------------------------­
 at                                        , with a certified copy of this judgment.
      --------------------~


                                                                   UNITED STATES MARSHAL


                                      By                    DEPUTY UNITED STATES MARSHAL



                                                                                                         14CR3179-BAS
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
ONE (1) YEAR


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed 011 or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shaH submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based.onthe court's determinatiollthat the defendant poses a low risk of future
o      substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm,ammunition; destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of aDNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) IJDd 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o      seq.) as directed by the probation officer, the Bureau ofPrlsons, or any state sex offender registration agency in which he or she
       resides, works, is a student, or was convi<;ted ofa qualifyilig offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.              .. .
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.·             . .
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the pennission ofthe court or probation officer;
     2)  the defendant shall report to the probation officer in a manner lind frec:ruency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless ~ctised by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphemalia related to any controlled substances, .except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold,used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer;
     11) the defendant shall notify the probation officer within seventy-two hllUrs of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer ora special agent of a law enforcement agency without the permission of
          the court; and
     13} as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to conftnn the defendant's compliance
          with such notification requirement.



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                                 SPECIAL CONDITIONS OF SUPERVISION

      1. Participate in a program of mental health treatment as directed by the probation officer. The Court
         authorizes the release of the presentence report and available psychological evaluations to the mental
         health provider, as approved by the probation officer. Allow for reciprocal release of information
         between the probation officer and the treatment provider. The defendant may be required to contribute to
         the costs of services rendered in an amount to be determined by the probation officer, based on the
         defendant's ability to pay.


      2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


      3. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.


      4. Not associate with undocumented aliens or alien smugglers.


      5. The defendant shall not commit another federal, state or local crime;


      6. Seek and maintain full time employment and/or schooling or a combination of both,


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